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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 0:24-cv-60315-LEIBOWITZ/STRAUSS

  HOLY CROSS HOSPITAL, INC.,

         Plaintiff,
  v.

  AMERICAN ANESTHESIOLOGY
  SERVICES OF FLORIDA, INC., et al.,

        Defendants.
  ______________________________________/

                                                 ORDER

         THIS CAUSE is before the Court upon a sua sponte review of the record.       On April 15,

  2024, Plaintiff filed a Motion to Dismiss Defendants’ Counterclaim [ECF No. 25].    On April 29,

  2024, Defendants filed their First Amended Answer to Plaintiff’s Complaint and Counterclaims

  [ECF No. 33].       Because Plaintiff’s Motion to Dismiss refers to an outdated counterclaim, the

  Motion is MOOT.         Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Motion ECF No. 25 is DENIED AS MOOT.

         DONE AND ORDERED in the Southern District of Florida this 7th day of May, 2024.




  cc: counsel of record
